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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                             ZDIBJUN-5 AM 9:OL


UMG RECORDINGS, INC., CAPITOL                   §
RECORDS, LLC, WARNER BROS.                      §
RECORDS INC., SONY MUSIC                        §
ENTERTAINMENT, ARISTA                           §
RECORDS LLC, ARISTA MUSIC,                      §
ATLANTIC RECORDING                              §
CORPORATION, CAPITOL                            §
CHRISTIAN MUSIC GROUP, INC.,                    §
ELEKTRA ENTERTAINMENT GROUP                     §
INC., FONOVISA, INC., FUELED BY                 §
RAMEN LLC, LAFACE RECORDS                       §
LLC, NONESUCH RECORDS INC.,                     §
RHINO RECORDS, INC., ROC-A-                     §
FELLA RECORDS, LLC, TOOTH &                     §
NAIL, LLC, ZOMBA RECORDING LLC,                  §
                  PLAINTIFFS,                    §
                                                 §
V.                                               §    CAUSE NO. A-17-CV-365-LY
                                                 §
 GRANDE COMMUNICATIONS                           §
 NETWORKS LLC, AND PATRIOT                       §
 MEDIA CONSULTING, LLC,                          §
                DEFENDANTS.                      §
                                                 §



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       IT IS HEREBY ORDERED that Defendant Grande Communication Networks LLC's

Motion to Authorize Service of Third-Party Subpoena by U.S. Marshal filed May 25, 2018 (Clerk's

Document No. 94) and Plaintiffs' Opposition to Grande's Motion to Authorize Service of Third-

Party Subpoena by U.S. Marshal filed June 1, 2018 (Clerk's Document No. 96), as well as any reply
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that may be filed are REFERRED to United States Magistrate Judge Andrew Austin for disposition.

See   28 U.S.C.   §   636(b)(1)(B), Fed. R. Civ. P. 72; Loc. R. W. D. Tex. Appx. C, Rule 1(d).

         SIGNED this                    day of June, 2018.




                                                  LEE AKEL       f     /    '
                                                  UNFI'ED STATES DISTRRT JUDGE




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